   Case: 1:24-cv-11674 Document #: 18 Filed: 12/16/24 Page 1 of 1 PageID #:1636




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 WENJIE XIE,

                                 Plaintiff,
                                                    Civil Action No.: 24-cv-11674
                               v.
                                                    Honorable Judge Elaine E. Bucklo
 THE ENTITIES AND INDIVIDUALS
                                                    Magistrate Judge Young B. Kim
 IDENTIFIED IN ANNEX “A”,

                                Defendants.


       PLAINTIFF’S MOTION FOR ENTRY OF PRELIMINARY INJUNCTION

       Plaintiff, Wenjie Xie (“Plaintiff”), hereby moves this Honorable Court for entry of a

Preliminary Injunction against the Entities and Individuals identified in Annex A to the

Complaint (“Defendant”). The scope of the Preliminary Injunction is substantially identical to

the Temporary Restraining Order entered on November 27, 2024. (Dkt. No. 12). In support of its

Motion, Plaintiff concurrently files a Memorandum of Law.



DATED December 16, 2024                               Respectfully submitted,

                                                      /s/ Ge (Linda) Lei     ___________
                                                      Ge (Linda) Lei
                                                      203 N. LaSalle St., Suite 2100
                                                      Chicago, IL 60601
                                                      Attorney No. 6313341
                                                      Linda.lei@getechlaw.com
                                                      312-888-6633


                                                      ATTORNEY FOR PLAINTIFF




                                                1
